Case 17-26896   Doc 126   Filed 09/28/18 Entered 10/01/18 09:20:46   Desc Main
                           Document     Page 1 of 7
Case 17-26896   Doc 126   Filed 09/28/18 Entered 10/01/18 09:20:46   Desc Main
                           Document     Page 2 of 7
Case 17-26896   Doc 126   Filed 09/28/18 Entered 10/01/18 09:20:46   Desc Main
                           Document     Page 3 of 7
Case 17-26896   Doc 126   Filed 09/28/18 Entered 10/01/18 09:20:46   Desc Main
                           Document     Page 4 of 7
Case 17-26896   Doc 126   Filed 09/28/18 Entered 10/01/18 09:20:46   Desc Main
                           Document     Page 5 of 7
Case 17-26896   Doc 126   Filed 09/28/18 Entered 10/01/18 09:20:46   Desc Main
                           Document     Page 6 of 7
Case 17-26896   Doc 126   Filed 09/28/18 Entered 10/01/18 09:20:46   Desc Main
                           Document     Page 7 of 7
